      Case 1:04-cr-05356-AWI Document 454 Filed 10/16/07 Page 1 of 2
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 9
                            UNITED STATES DISTRICT COURT
10
                           EASTERN DISTRICT OF CALIFORNIA
11

12
     UNITED STATES OF AMERICA, ) CASE NO. : 1:04-CR-5356 AWI
13                              )
                                ) STIPULATION TO SET SENTENCING
14
                   Plaintiff,   ) DATE FOR NOVEMBER 19, 2007;
15                              ) ORDER
           vs.                 )
16                             )
17
     Bhinder Singh Raju,        )
                                )
18                 Defendant.   )
19         IT IS HEREBY STIPULATED by and between defendant, Bhinder Singh Raju, by
20
     and through his attorney, Barbara Hope O’Neill, and Plaintiff, United States of America,
21
     by and through Assistant United States Attorney, Mark E. Cullers, that the sentencing
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23   hearing in the above-captioned matter be scheduled for Monday, November 19, 2007.

24           This continuance is jointly requested by the parties. The matter had been
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     scheduled for September 6, 2007, but was moved by the Court to November 1, 2007, as
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     codefendants, Nijjar Brothers, NB Trucking, Surinder Singh Nijjar and Amritpal P.
27
     Singh, have been set on November 1, 2007, pursuant to stipulation. Codefendants in a
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     similar position as the defendant have already been continued until November 19, 2007.




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       Case 1:04-cr-05356-AWI Document 454 Filed 10/16/07 Page 2 of 2
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 2
         It is further stipulated by the parties that the defendant, Bhinder Singh Raju, can be
 3
     present and participate in the evidentiary hearing of codefendants on November 1, 2007,
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 5
     if he so desires.

 6            It is further stipulated by the parties that any delay resulting from this continuance
 7   shall be excluded on the following basis:
 8
              Title 18, United States Code §3161(h)(8)(A): that the ends of justice served by
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     taking such action outweigh the best interest of the public and the defendant in a speedy
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11   trial.

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13
     DATED: October 15, 2007                                Respectfully submitted,
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15
                                                             s/s Barbara Hope O’Neill______
16
                                                                BARBARA HOPE O’NEILL
17                                                              Attorney for Bhinder Singh Raju

18   DATED: October 15, 2007                                s/s Mark E. Cullers_____________
                                                                MARK E. CULLERS,
19
                                                                Assistant United States Attorney
20

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22
                                                 ORDER

23   IT IS SO ORDERED.
24   Dated:       October 16, 2007                         /s/ Anthony W. Ishii
25
     0m8i78                                          UNITED STATES DISTRICT JUDGE

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